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                             UNITED STATES BANKRUPTCY COURT
                               FOR THE DISTRICT OF COLORADO
                              Bankruptcy Judge Thomas B. McNamara


  In re:
                                                   Bankruptcy Case No. 23-11420 TBM
  LUKE VAN WALCH and                               Chapter 7
  JANINE RETZ WALCH,

  Debtors.

  FLOORPLAN XPRESS, LLC-OK,

  Movant,

  v.

  LUKE VAN WALCH and
  JANINE RETZ WALCH,

  Respondents.
____________________________________________________________________________

               ORDER GRANTING MOTION FOR RELIEF FROM STAY
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       THIS MATTER came before the Court at a preliminary hearing on the “Motion for Relief
from Automatic Stay” (Docket No. 62, the “Motion for Relief from Stay”) filed by Floorplan
Express LLC-O K (the “Movant”) on October 5, 2023, and the Response (Docket No. 68, the
“Response”) thereto filed by Luke Van Walch and Janine Retz Walch (together, the “Debtors”)
held October 17, 2023. At the hearing, the parties agreed that relief from stay could enter. It is,
therefore,

        ORDERED that the Motion for Relief from Stay is GRANTED to allow for the
determination of the claims in the complaint filed by Floorplan Xpress, LLC-OK against the
Defendants and others in the case styled Floorplan Xpress, LLC-OK v. Green Eyed Motors LLC,
Luke Van Walch, Janine R. Walch, and Flatirons Bank, Case No. 2023CV3016 (Weld Cty. Colo.
Dist. Ct.) (the “Weld County Action”) in order to determine the Respondents’ liability to the
Movant only. It is

      FURTHER ORDERED that the Movant may not collect on any judgment entered in the
Weld County Action against the Respondents.

           DATED this 24th day of October, 2023.
                                                     BY THE COURT:

                                                     __________________________
                                                     Thomas B. McNamara,
                                                     United States Bankruptcy Judge
